  Case: 1:15-cv-09986 Document #: 551 Filed: 09/07/23 Page 1 of 5 PageID #:24069



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                   )
 BAXTER INTERNATIONAL, INC.,                       )
                                                   )
                Plaintiff,                         )     No. 1:15-cv-09986
                                                   )
         v.                                        )     Judge Nancy L. Maldonado
                                                   )
 CAREFUSION CORPORATION, and                       )
 BECTON, DICKINSON AND COMPANY,                    )
                                                   )
                Defendant.                         )
                                                   )


DECLARATION OF NINA GARCIA IN SUPPORT OF DEFENDANTS’ MOTIONS IN
                  LIMINE REGARDING DAMAGES

       I, Nina B. Garcia, hereby declares as follows:

       1.      I am an attorney with Wilmer, Cutler, Pickering, Hale and Dorr LLP, and am one of

the lawyers representing Defendants CareFusion Corporation and Becton, Dickinson and Company

(collectively, “CareFusion”) in this case. I make this declaration to support CareFusion’s Motions in

Limine regarding Damages.

       2.      Attached as Exhibit 1 to this declaration is a true and correct copy of Baxter

International, Inc.’s Second Supplemental Response to Defendants’ Interrogatory No. 8, dated May

26, 2023. Exhibit 1 contains confidential information regarding licenses that Baxter produced as

“Highly Confidential – Outside Counsel Only” under the Protective Order (Dkt. 52).

       3.      Attached as Exhibit 2 to this declaration is a true and correct copy of Baxter

International, Inc.’s Second Supplemental Initial Disclosures, dated July 12, 2023. Baxter designated

Exhibit 2 as “Contains Highly Confidential – Attorneys’ Eyes Only Information” under the

Protective Order (Dkt. 52).




                                                  1
  Case: 1:15-cv-09986 Document #: 551 Filed: 09/07/23 Page 2 of 5 PageID #:24070



       4.      Attached as Exhibit 3 to this declaration is a true and correct copy of Baxter

International Inc.’s Amended Final Infringement Contentions, dated May 24, 2019. Exhibit 3

contains confidential information regarding the CareFusion Alaris System, including highly

confidential source code.

       5.      Attached as Exhibit 4 to this declaration is a true and correct copy of a Patent

Sublicense Agreement between Baxter Healthcare Corporation and Cerner Corporation, bates

stamped BII-00036675 – BII-00036681. Baxter designated Exhibit 4 “Highly Confidential –

Outside Counsel Only” under the Protective Order (Dkt. 52).

       6.      Attached as Exhibit 5 to this declaration is a true and correct copy of an Operating

Agreement between Care Everywhere and Sigma, bates stamped BII-00036668 – BII-00036670.

Baxter designated Exhibit 5 “Highly Confidential – Outside Counsel Only” under the Protective

Order (Dkt. 52).

       7.      Attached as Exhibit 6 to this declaration is a true and correct copy of a License

Agreement between Massachusetts General Hospital and Sigma International, Inc., bates stamped

BII-00034255 – BII-00034272. Baxter designated Exhibit 6 “Highly Confidential – Outside

Counsel Only” under the Protective Order (Dkt. 52).

       8.      Attached as Exhibit 7 to this declaration is a true and correct copy of a United States

Securities and Exchange Commission Form 10-Q for Alaris Medical, Inc. with the agreement

between Caesarea Medical Electronics Limited and Alaris Medical Systems Inc. dated May 7, 1998

appended as Exhibit 10.1(a), bates stamped CF056967_0002 – CF056967_0076.

       9.      Attached as Exhibit 8 to this declaration is a true and correct copy of excerpts from

the Expert Report of Ambreen Salters on behalf of Baxter International, Inc., dated March 13, 2020.

Baxter designated Exhibit 8 as “Highly Confidential” under the Protective Order (Dkt. 52).




                                                  2
  Case: 1:15-cv-09986 Document #: 551 Filed: 09/07/23 Page 3 of 5 PageID #:24071



       10.     Attached as Exhibit 9 to this declaration is a true and correct copy of excerpts from

the Expert Report of Philip Green, dated October 16, 2020. CareFusion designated Exhibit 9 as

“Highly Confidential” under the Protective Order (Dkt. 52).

       11.     Attached as Exhibit 10 to this declaration is a true and correct copy of excerpts from

the Expert Report of Warren P. Heim on Infringement, dated March 13, 2020. Baxter designated

Exhibit 10 as “Highly Confidential – Source Code” under the Protective Order (Dkt. 52).

       12.     Attached as Exhibit 11 to this declaration is a true and correct copy of excerpts from

the Expert Report of Gregg R. Kirkpatrick regarding Non-Infringement of Claims 1-3 and 8-10 of

U.S. Patent No. 5,782,805, dated October 14, 2020. CareFusion designated Exhibit 11 as “Highly

Confidential” under the Protective Order (Dkt. 52).

       13.     Attached as Exhibit 12 to this declaration is a true and correct copy of excerpts from

the Deposition of Eric Sato, dated July 17, 2023. Baxter designated Exhibit 12 as “Highly

Confidential – Outside Attorneys’ Eyes Only” under the Protective Order (Dkt. 52).

       14.     Attached as Exhibit 13 to this declaration is a true and correct copy of excerpts from

the Deposition of Dennis Vaughn, dated July 24, 2023. Baxter designated Exhibit 13 as

“Confidential – Attorneys’ Eyes Only” under the Protective Order (Dkt. 52).

       15.     Attached as Exhibit 14 to this declaration is a true and correct copy of excerpts from

the Deposition of Kenneth Lynn, dated July 26, 2023. Baxter designated Exhibit 14 as “Highly

Confidential” under the Protective Order (Dkt. 52).

       16.     Attached as Exhibit 15 to this declaration is a true and correct copy of excerpts from

the Deposition of Debra Bello, dated August 4, 2023.

       17.     Attached as Exhibit 16 to this declaration is a true and correct copy of the Hearing

Transcript, dated May 18, 2023.




                                                 3
  Case: 1:15-cv-09986 Document #: 551 Filed: 09/07/23 Page 4 of 5 PageID #:24072



       18.     Attached as Exhibit 17 to this declaration is a true and correct copy of excerpts from

the Deposition of Eric Sato, dated April 13, 2017. Baxter designated Exhibit 17 as “Highly

Confidential” under the Protective Order (Dkt. 52).

       19.     Attached as Exhibit 18 to this declaration is a true and correct copy of the Hearing

Transcript, dated August 10, 2023.



       I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct to the best of my present knowledge and recollection.


Dated: September 7, 2023

                                              /s/ Nina B. Garcia
                                              Nina Garcia (admitted pro hac vice)

                                              WILMER CUTLER PICKERING HALE AND
                                              DORR LLP
                                              60 State Street
                                              Boston, MA 02109
                                              Tel: (617) 526-6388

                                              Nina.Garcia@wilmerhale.com

                                              Attorney for Defendants




                                                 4
  Case: 1:15-cv-09986 Document #: 551 Filed: 09/07/23 Page 5 of 5 PageID #:24073



                                CERTIFICATE OF SERVICE

      Nina B. Garcia, an attorney, states that she caused the DECLARATION OF NINA
GARCIA IN SUPPORT OF DEFENDANTS’ MOTIONS IN LIMINE REGARDING
DAMAGES to be served electronically by transmission through e-mail and/or file transfer link on
September 7, 2023, upon:

   Julianne M. Hartzell
   Kelley S. Gordon
   Chelsea M. Murray
   MARSHALL GERSTEIN & BORUN LLP
   6300 Willis Tower
   233 S. Wacker Dr.
   Chicago, IL 60606
   T: 312.474.6300
   E: jhartzell@marshallip.com
   E: kgordon@marshallip.com
   E: cmurray@marshallip.com


   Douglas J. Nash
   John D. Cook
   Denis Sullivan
   Thomas Hoehner
   BARCLAY DAMON LLP
   Barclay Damon Tower
   125 East Jefferson Street
   Syracuse, New York 13202
   Tel: (315) 425-2700

   Jeffrey R. Gargano
   Devon C. Beane
   Melissa Haulcomb
   K&L Gates LLP
   70 W. Madison Street, Suite 3300
   Chicago, IL 60602
   T: 312.372.1121


                                            Nina B. Garcia
                                            Nina B. Garcia




                                               5
